        Case 20-81258-BSK        Doc 12     Filed 11/16/20 Entered 11/16/20 09:53:50          Desc Main
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF:                                       ) BK. NO. 20-81258-BSK
                                                        )
DAVID K BORKOWSKI                                       ) CHAPTER 13
                             SSN: ###-##-7103           )
KIMBERLY BORKOWSKI                                      )
                             SSN: ###-##-0079           )
                                                        )
Debtors.

             REQUEST OF TRUSTEE FOR PRODUCTION OF DOCUMENTS AND INFORMATION

TO THE DEBTORS: If you are represented by an attorney, please take the requested documents and
information to your attorney for review. Your attorney will then advise you on what to do.

COMES NOW Kathleen A. Laughlin, Trustee herein, and pursuant to 11 U.S.C. §§ 521 (3) and (4) requests the
Debtor to produce the below listed documents and/or information at the Trustee's office at 13930 Gold Circle, Suite
201, Omaha, Nebraska 68144 within fifteen (15) days from the date of this request. In lieu of production at the
Trustee's office, copies of the requested documents may be mailed to the Trustee's office. The information
requested below should be submitted to the Trustee in written form.

DOCUMENTS:

   1. Copies of all pay advices for both Debtors from April 1, 2020 through September 30, 2020.


         DATED: November 16, 2020

                                                           s/ Kathleen A. Laughlin
                                                           Kathleen A. Laughlin #16883
                                                           Chapter 13 Trustee
                                                           13930 Gold Circle, Suite #201
                                                           Omaha, NE 68144
                                                           (402) 697-0437
                                                           1-800-884-0437

                                          CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the Trustee's Request was served on CARRIE
DOLL, debtors attorney via the CM/ECF system of the United States Bankruptcy Court and a copy was mailed on
November 16, 2020, by first-class, U.S. mail, postage prepaid to the Debtors at the addresses listed below:

DAVID K BORKOWSKI                                       KIMBERLY BORKOWSKI
28432 WAVERLY RD                                        28432 WAVERLY RD
MURDOCK, NE 68407                                       MURDOCK, NE 68407


                                                           s/ Kathleen A. Laughlin
                                                           Kathleen A. Laughlin
